443 F.2d 61
    NATIONAL LABOR RELATIONS BOARD, Respondent,v.GREAT SOUTHWEST WAREHOUSES, INC., Petitioner.
    No. 71-1128 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    May 11, 1971.
    Rehearing Denied June 29, 1971.
    
      Marcel Mallet-Prevost, Asst. Gen. Counsel, N.L.R.B., Washington, D. C., Elmer P. Davis, Director, Region 16, NLRB, Fort Worth, Tex., Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Assoc. Gen. Counsel, Robert E. Williams, Patricia M. Worthy, Attys., N.L.R.B., for respondent.
      Allen P. Schoolfield, Jr., John M. Weissert, Schoolfield &amp; Smith, Dallas, Tex., for petitioner.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Enforced. Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5th Cir., 1970, 431 F.2d 409, Part I
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5th Cir. 1970, 430 F.2d 966.
      
    
    